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IN THE UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF PENNSYLVANIA

CARLA CAIN,

Plaintiff : No. = 2:22-cv-00360
v.

CINDY BASS, as Member of Philadelphia City
Council, in her Personal Capacity only,

Defendant

ENTRY OF APPEARANCE

TO THE CLERK:

Please enter the appearance of John 8. Carnes, Jr., Esquire on behalf of Plaintiff, Carla

Cain, in the above-captioned matter.

Respectfully submitted,

re" Jr.
/ i

Law Offices of John

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Mod,

  

Dated: January 28, 2022 ATE GO|
John's. Carnes, Jr., Esq. (
Pa, Atty. LD. 47338 :
101 West Main Street
Parkesburg, PA 19365
T: (610) 857-5500
F: (610) 857-5501
jearnes(@jcatty.com

Attorneys for Plaintiff
Carla Cain

 
